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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

  PAR PHARMACEUTICAL, INC.,                   )
  PAR STERILE PRODUCTS, LLC, and              )
  ENDO PAR INNOVATION                         )
  COMPANY, LLC,                               )
                                              )     C.A. No. 18-823-CFC
                 Plaintiffs,                  )
                                              )
           v.                                 )
                                              )
  EAGLE PHARMACEUTICALS INC.,                 )
                                              )
                 Defendant.                   )

                               [PROPOSED] O R D E R
           The Court having reviewed Defendant’s proposed redactions to the June 24

 Letter (D.I. 197), along with the supporting Declaration of David Pernock, and cause

 for these redactions having been shown,

           IT IS HEREBY ORDERED that Defendant’s request is GRANTED and the

 redacted version of the June 24 Letter attached as Exhibit B to the Pernock

 Declaration will serve as the official public version of the June 24 Letter.


                                                  _____________________________
                                                       United States District Judge
 6787296
